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          In the United States Court of Federal Claims
                                    No. 22-1284C
                              (Filed: October 28, 2022)
                             NOT FOR PUBLICATION
***************************************
MARY LOUISE DRESSLER,                 *
                                      *
                  Plaintiff,          *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
                                      *
***************************************
                                        ORDER
       Ms. Mary Louise Dressler, proceeding pro se, filed this civil action against the
United States of America. To proceed with a civil action in this Court, a plaintiff must
either pay $402.00 in fees—a $350.00 filing fee plus a $52.00 administrative fee—or
request authorization to proceed without prepayment of fees by submitting a signed
application to proceed in forma pauperis (“IFP”). See 28 U.S.C. §§ 1914, 1915.
      Ms. Dressler submitted her complaint without the filing fees or a completed
IFP application. In an order dated September 14, 2022, this Court ordered
Ms. Dressler to either pay the $402.00 in required fees or submit an IFP application
within thirty days. See Order (ECF 6). To date, Ms. Dressler has failed to comply with
this Court’s previous order.
       This Court may dismiss a case for failure to prosecute when the plaintiff “fails
… to comply with these rules or a court order.” RCFC 41(b). Here, Plaintiff’s failure
to comply with an order directing her to pay the filing fee or establish grounds for
proceeding in forma pauperis justifies dismissal. See, e.g., Bryant v. United States,
618 F. App’x 683, 686 (Fed. Cir. 2015) (“If a party fails to pay the requisite filing fee,
despite adequate notice and ample opportunity to do so, the Claims Court acts within
its discretion when it dismisses the action.”). As a result, this action is dismissed
without prejudice for failure to prosecute under Rule 41 of the Rules of the United
States Court of Federal Claims.
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The Clerk of the Court is directed to enter judgment accordingly.


IT IS SO ORDERED.
                                       s/ Stephen S. Schwartz
                                       STEPHEN S. SCHWARTZ
                                       Judge




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